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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 SAMER ALI-HASAN, M.D.,
                                                                               Complaint
                                                            Plaintiff,
                                                                         Jury Trial Demanded
                               -against-
                                                                                Case No.
 ST. PETER’S HEALTH PARTNERS MEDICAL
 ASSOCIATES, P.C., and ST. PETER’S HEALTH
 PARTNERS,

                                                          Defendants.

         Plaintiff, by his attorneys, Cooper Erving & Savage LLP, for his complaint herein,

alleges as follows:

                  INTRODUCTION AND JURISDICTIONAL STATEMENT

1.       This is an action alleging discrimination in employment on the basis of his sex in violation

of 42 U.S.C. § 2000e-2 [“Title VII”].

2.       The jurisdiction of the Court is invoked pursuant to 42 U.S.C. § 2000e-5, and 28 U.S.C. §

1331.

3.       The Court has subject matter jurisdiction over plaintiff’s State law breach of contract claim

pursuant to the doctrine of pendant or supplementary jurisdiction and 28 U.S.C. § 1367.

4.       Venue is properly laid in the Northern District of New York, under the provisions of 28

U.S.C. § 1391, in that all, or a substantial part, of the events or omissions giving rise to the claims

alleged herein occurred within this District and all of the parties reside, or are located, in this

District.

5.       Plaintiff demands a jury trial of this action.

6.       Plaintiff Samer Ali-Hasan filed a complaint with the United States Equal Employment

Opportunity Commission [EEOC] on or about October 21, 2019, in which he alleged that he had


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been discriminated against at his place of employment on the basis of sex.

7.     EEOC issued a notice of right to sue letter on November 12, 2019.

                                             PARTIES

8.     Plaintiff Samer Ali-Hasan is a 50 year old male and a resident of Albany County in the State

of New York.

9.     Plaintiff began his employment as an interventional cardiologist with Albany Associates in

Cardiology, which is part of St. Peter’s Health Partners Medical Associates (SPHPMA) on June

15, 2015.

10.    Plaintiff was terminated from employment by letter dated July 31, 2019, though he was kept

on the payroll until January 27, 2020, consistent with “a termination for convenience” provided for

in his employment contract.

11.    Defendant St. Peter’s Health Partners Medical Associates, P.C. [SPHPMA], is a

professional corporation organized and existing by virtue of the laws of the State of New York.

12.    Defendant St. Peter’s Health Partners [SPHP] is a not for profit corporation organized and

existing by virtue of the laws of the State of New York.

13.     The defendants were joint employers of plaintiff as that term is used in Title VII. The

former or P.C. is a physicians group, while the latter is a hospital management organization. The

SPHPMA provides medical services to the facilities operated by SPHP.          Among other things,

SPHP provides human resources services to SPHPMA. Although plaintiff was terminated as an

employee of SPHPMA, this action was carried out by Anna Bauer who is a human resources

official of SPHP. As alleged herein, Ms. Bauer was involved in the matters that led to the

termination of plaintiff’s employment.

                                  FACTUAL ALLEGATIONS

14.    Plaintiff was hired to build SPHPMA’s cardiology practice (Albany Associates in

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Cardiology) in the Troy market, which he did. The cardiology practice became very competitive

in the Troy market, and was included in the call schedule because of plaintiff’s hard work.

Albany Associates in Cardiology was competing against Capital Cardiology Associates, a larger

private group. Plaintiff’s work was acknowledged as successful. Many cardiologists from

Albany Associates in Cardiology before plaintiff tried to build the Troy market but failed.

Plaintiff worked countless hours way beyond what was required, including weekends when he

was not on call, to accomplish this goal for SPHPMA

15.    Plaintiff’s initial contract was for 3 years and then he was voted in as a partner

afterwards. Plaintiff never had any formal complaint against him nor was he subject to any

disciplinary action. As explained herein, plaintiff was never shown any complaint against him

even when such an alleged complaint supposedly led to the termination of his employment.

16.    Plaintiff’s personal and academic reputation are beyond reproach.           His medical

knowledge and technical skills are at very high level and standards. Plaintiff had the good

fortune to train in the best and most competitive programs in the country. Plaintiff did 16 years

of training after high school. He is one of the most trained interventional cardiologists in the

Capital District. Plaintiff did four separate fellowships and subspecialties in addition to his

internal medicine residency training. Plaintiff was one the most financially productive providers

in the group regarding revenues.

17.    In the course of terminating plaintiff’s employment, SPHPMA and its board of directors

humiliated plaintiff and damaged his reputation for no good or objective reason. Fair process

was completely lacking. Ordinary investigatory or due process procedures used in other cases

were not followed.

18.    Plaintiff’s termination began when he received a call on July 30, 2019, from Craig

Knack, who is an administrator in the cardiology practice, telling him that he needed to meet

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with Kellie Valenti (interim president, SPHPMA) and Dr. William Kowal (SPHPMA chairman

of the board) on July 31, 2019 at St. Peter’s Hospital executive floor conference room. Plaintiff

asked Mr. Knack the reason for the meeting. He said it was regarding a complaint filed against

plaintiff. Plaintiff inquired as to the nature of the complaint. Mr. Knack said he did not know.

Plaintiff then called Dr. James Phillip, president of the cardiology group, to inquire about the

meeting. Dr. Phillip shared with plaintiff that the meeting was about a complaint but that he did

not know any details. He recommended that plaintiff go to the meeting.

19.    On July 31, 2019, plaintiff met with Kellie Valenti and Dr. William Kowal. The meeting

was short. No details of the complaint were provided. They informed plaintiff that he had a

complaint filed against him, that Human Resources did two weeks of investigation, and that

Human Resources recommended terminating plaintiff’s contract with cause.

20.    Plaintiff was never interviewed in connection with the so-called investigation. He was

never given the opportunity to rebut any of the allegations or to even suggest witnesses that

might support his view of events, whatever those may have been.

21.    Plaintiff was told at the July 31 meeting that the Human Resources recommendations had

been shared with the SPHPMA board of directors (5 members).              Plaintiff was told they

unanimously approved the HR recommendations.              Plaintiff was also told that these

recommendations were shared with the cardiology practice’s JOC (joint operations committee),

which recommended a change to termination without cause supposedly so that it would not

adversely affect plaintiff’s future employment. The nature of the complaint was not shared with

the JOC. Plaintiff was given a document signed by Kellie Valenti, dated July 31, 2019, stating

that his contract was terminated without cause effective immediately and that plaintiff would be

paid for 6 months including benefits until January 27, 2020. Plaintiff again asked Ms. Valenti

and Dr. Kowal about the nature of the complaint. They said that they did not have to share any

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information with him. Kellie Valenti did most of the talking. She was consistently disrespectful

towards the plaintiff, speaking to him in a hostile and nasty manner while sipping on a straw

from a plastic cup. She acted as if she was plaintiff’s adversary.

22.    Plaintiff pointed out that he had procedures scheduled at Samaritan Hospital that morning

starting at 8:00 am (he had three patients scheduled for coronary angiograms). They told plaintiff

not to worry about it; it would be taken care of. Plaintiff also shared with them that he had office

notes from July 30, 2019 that he needed to complete. They replied that they would take care of it

and refused to allow plaintiff to complete his notes which he is required to do by law. They

blocked plaintiff’s access to his computer, email, and basically everything related to SPHPMA

effective immediately.

23.    Plaintiff was advised by Killie Valenti and Dr. William Kowal to communicate with

Anna Bauer, who is the director of Human Resources, regarding anything plaintiff needed

moving forward. Kellie Valenti and Dr. William Kowal left the conference room while plaintiff

was trying to talk with them; they said that there was nothing more to talk about. They refused

to answer plaintiff’s questions or give him any details regarding what had taken place.

24.    After plaintiff left the conference room, he drove to his office in Troy to collect his

personal belongings. While walking back to the office, plaintiff was surrounded by Troy police

and asked not to go anywhere. Later on, the security director for Samaritan Hospital arrived and

recognized plaintiff. The security director indicated he was unaware of what was going on and

asked plaintiff to wait while he went up to the office. While plaintiff was waiting for him to

return, plaintiff asked one of the police what was going on. The officer related that someone

from the office (third party) called 911, said plaintiff was fired this morning, and that the person

was not comfortable with plaintiff being in the office. Then the security director for Samaritan

Hospital came down and told plaintiff that SPHPMA did not want plaintiff to go into his office

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to get his personal belongings and wanted him to coordinate with Anna Bauer to arrange for a

time to get his things. Plaintiff was then allowed to leave.

25.    That same day, July 31, 2019, plaintiff called his partner Dr. James Phillip but could not

reach him because he was on vacation. Plaintiff spoke with his partner Dr. John Filippone, who

is a member of the JOC. Dr. Filippone said that the JOC knew about plaintiff’s termination

before plaintiff met with the practice administrators and that Kellie Valenti instructed them not to

share any information with plaintiff regarding their decision to terminate his contract.

26.    Plaintiff also called and spoke with Dr. Alan Sanders who is the chief medical officer for

both Samaritan and St. Peter’s Hospitals, facilities under the aegis of SPHP. Dr. Sanders said

that he became aware of what happened to plaintiff that morning and that he was surprised and

not happy with it. Dr. Sanders also said that he never received any complaint against plaintiff

and described plaintiff’s employment file as “clean.”          He also related that he spoke with

members of the medical executive committee and Human Resources at Samaritan hospital and

was told that there were no complaints or issues related to plaintiff. Dr. Sanders said that this

issue is related to SPHPMA and had nothing to do with the hospital system. He indicated that

the process for any complaint against plaintiff was not appropriately followed. Plaintiff and Dr.

Sanders agreed to meet on August 5, 2019, to discuss this issue in person. However, Dr. Sanders

called plaintiff before the meeting on August 5 and said he was told by Dr. Steven Hanks (Chief

Medical Ifficer of SPHP) not to meet with plaintiff because this issue is related to SPHPMA and

not related to the hospital system. Dr. Sanders was very supportive and understanding towards

the plaintiff and apologized for not being able to help.

27.    On July 31, 2019. plaintiff also spoke with Dr. Paul Barbarotto who was the former

chairman of the board for SPHPMA, whom he knew very well from working together. Dr.

Barbarotto said that he only became aware of the decision to terminate plaintiff’s contract that

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day and was frustrated and not happy with what happened. He did not have any details to share

about why this occurred.

28.    Plaintiff also called Dr. James Reed’s office to meet with him (President and CEO of

SPHP). Dr. Reed’s assistant said he was going on vacation the following week. She promised to

speak with Dr. Reed and get back to plaintiff.

29.    Plaintiff received a call the next day from Dr. Steven Hanks (Chief Clinical Officer

SPHP) who said Dr. Reed asked him to meet with plaintiff because Dr. Reed was tied up.

Plaintiff met with Dr. Hanks on August 8, 2019 and told him what had taken place. Dr. Hanks

told plaintiff that he never heard any complaint against plaintiff and also described his file as

“clean.” He said the process for handling a complaint against a physician was not followed. He

related a story about another physician who had alcohol and drug issues. It took SPHPMA two

years to terminate his contract.      He was confused about what took place regarding the

termination of plaintiff’s employment. He reiterated the usual practice in handling complaints

was not followed.     Later, he sent plaintiff a follow-up email and deferred the decision to

SPHPMA although the SPHPMA president reports to him.

30.    On August 2, 2019, Dr. James Phillip returned plaintiff’s call early in the morning and

related that he did not know the nature of the complaint against plaintiff. He and the rest of the

JOC members were aware of the decision of SPHPMA to terminate plaintiff’s contract but were

instructed by Kellie Valenti not to share information with plaintiff.

31.    That same day, August 2, 2019, plaintiff met with Anna Bauer, Director of Human

Resources of SPHP, at her office to try to get answers regarding the situation. Ms. Bauer told

him that there was a complaint from Samaritan Hospital. Someone called the 800 compliance

phone number. It triggered an HR investigation that, in her words, was carried out by a “low

level, entry level” HR employee. She said that apparently someone indicated that plaintiff

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discriminated against female technicians in the catheterization laboratory (cath lab) and only

wanted to work with male technicians. She told plaintiff that the HR employee interviewed

personnel in the catheterization laboratory at Samaritan and St. Peter’s Hospitals and also at

Albany Associates in Cardiology’s Troy office. HR was told that plaintiff was difficult to work

with. The low level HR employee made recommendations to terminate plaintiff’s contract for

cause. According to Ms. Bauer, the HR report and investigation results were not reviewed or

approved by any supervisor or director. Plaintiff shared his concerns regarding the process with

Ms. Bauer. She said the process “is not perfect.”

32.    Paintiff told Ms. Bauer that he had no idea what HR was talking about. There was no

basis for concluding plaintiff wanted to work only with male technicians. Plaintiff explained to

her that there were two female technicians at the Samaritan hospital cath lab, Crystal and Ashlei.

Plaintiff was personally involved in training Crystal to perform interventional procedures, which

required a lot of work on his part that he was not obligated to do. This was for the benefit of

Crystal and the team. A few months ago, Crystal told plaintiff that she would be leaving

Samaritan Hospital’s cath lab to work at Albany Medical Center’s Electrophysiology lab because

she was tired of the drama and difficult work environment at the Samaritan Hospital cath lab.

Albany Medical Center was also offering her more money and a no on-call schedule. Plaintiff

called Brenda Williams who is the cath lab director at Samaritan Hospital on behalf of Crystal to

see what could be done to keep Crystal at the Samaritan cath lab. Plaintiff told Ms. Williams

that Crystal was a very skilled and important member of the cath lab and that they should do

everything possible to try to keep her at Samaritan Hospital. Plaintiff offered to write emails in

support of keeping Crystal in the cath lab. Ms. Williams told plaintiff that he was the only

physician who called her regarding Crystal and that she was very appreciative and thankful he

took the time to support Crystal. Plaintiff shared with Crystal and Cyrus (cath lab manager) that

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he called Ms. Williams to support Crystal.

33.        Ashlei also wanted to start doing advanced and complex interventional cases because the

cath lab was short-handed with technicians. She needed a lot of training and supervision.

Plaintiff agreed to help train her just as he did with Crystal. Plaintiff, Ashlei, and Cyrus all

agreed on the plan.

34.        Clearly plaintiff supported the female technicians. Moreover, even if plaintiff were doing

something wrong, policy required that he be informed and given the opportunity to correct it.

35.        Samaritan cath lab had shortages of nurses and technicians. They have agency nurses

who cover the cath lab (traveling nurses who come from time to time and are not employees of

the Hospital). Plaintiff was doing an interventional case and had Christie (an agency nurse)

scrubbed with him.         Plaitniff requested her to start Angiomax, which is a blood thinner

medication before he started the case. She said she would. He needed to confirm this was done.

He asked her again before starting the intervention if she had started the Angiomax and she siad

she had. While plaintiff was doing the intervention, he started noticing filling defects in the

artery. Then he asked Christie again if she had started the Angiomax but this time she said she

did not start the Angiomax because she did not know how to mix it and that she also does not

know how to use drips. This is a basic skill for any cath lab nurse. Plaintiff asked Cyrus, the

cath lab manager, and Cala, a team leader, to come to the cath lab to help. Cala, who is a nurse,

took over from Christie and finished the case. The patient did well. Afterwards, plaintiff spoke

with Cyrus who asked him to inform Samaritan HR in writing. Plaintiff declined to write a

complaint about Christie. He explained that Cyrus had to make sure lab nurses, especially

agency nurses, are trained in and comfortable doing interventional cases. That is a basic part of

his job.

36.        A few weeks later, plaintiff had a very sick patient with an acute heart attack coding with

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cardiac and respiratory arrest. Christie was the nurse again in the lab. She could not do anything

to help with the situation. Other nurses had to be brought in. Afterwards, plaintiff had the same

discussion with Cyrus. Again Cyrus asked plaintiff again to write a complaint about Christie and

again he declined. Plaintiff repeated that Cyrus needed to make sure that she gets the training

required to be in the cath lab.

37.    At no time did plaintiff attempt to penalize Christie, the female agency nurse involved.

Plaintiff’s interest was in supporting the success of the lab, not penalizing people.

38.    Plaintiff shared all these details with Ms. Bauer. She said he should have written up both

Christie and Cyrus so it would have been documented and to protect himself in the future. She

added that she would communicate with Eric Farrell, the lawyer for SPHPMA, to see if there is

anything that could be done to reverse the decision so plaintiff could get his job back.

39.    The following week, plaintiff spoke with Ms. Bauer over the phone; she told him that Mr.

Farrell informed her that the decision was irreversible.

40.    On August 15, 2019, in accordance with a pre-arranged appointment, plaintiff went to his

Troy office to collect his personal belongings along with Anna Bauer and Matthew Cirincione

(administrator in the cardiology group). Plaintiff found that his office was totally cleaned out

and asked Ms. Bauer what happened to his personal belongings (which were stored inside

drawers in plaintiff’s desk). She claimed that she did not know. Then she left to make phone

calls and was texting people. When she came back, she said that she let plaintiff down. She

indicated that someone from administration had a shredding company come and take plaintiff’s

personal belongings without his knowledge or consent. Plaintiff had been assured by Kellie

Valenti, Dr. William Kowal, and Anna Bauer that his office would be locked until he went with

Ms. Bauer to collect his personal belongings. Instead, plaintiff’s personal belongings were

intentionally destroyed without his knowledge or consent. The personal items included pictures

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of plaintiff with his daughter, a lot of cards from his daughter for his birthday, father’s day, and

other occasions that cannot be replaced. Cards from patients thanking plaintiff for saving their

lives and helping them were also destroyed. Financial documents including paycheck stubs and

retirement plan information of a very personal and private nature were missing. Plaintiff emailed

Dr. Hanks and Ms. Bauer to document this mistreatment yet no one responded.

41.    While plaintiff was leaving the parking lot that day, he ran into a colleague, Dr. Joseph

Farooq, who is a pulmonologist. Dr. Farooq said his group was upset regarding the way plaintiff

was treated. They held a special meeting to see how they could help. Dr. Farooq related that he

heard a rumor plaintiff was stealing equipment from his Troy office on July 31, 2019 and that

someone called 911 to stop plaintiff from stealing equipment. Dr. Farooq said that SPHPMA

just wanted to humiliate plaintiff and discredit him.

42.    Plaintiff spoke on multiple occasions over the phone with his former partners Dr. James

Phillip and Dr. John Filippone to see what the cardiology group could do to help. Plaintiff was

told that the group could not help because the decision to terminate his contract was made by

SPHPMA and not by the cardiology group. Dr. Phillip also related that he was instructed by

Kellie Valenti, the interim president for SPHPMA, “to stand down.”

43.    Plaintiff again reached out via email to Dr. James Reed (President and CEO of SPHP) to

meet with him. He agreed to meet with plaintiff along with Dr. Hanks. That meeting did not

take place because, on August 23, 2019, plaintiff received a threatening email with a letter dated

August 20, 2019, from Eric Farrell, lawyer for SPHPMA, indicating that plaintiff was not

allowed to communicate with anyone from SPHPMA, that it would be considered harassment if

he did so, and that Dr. Reed would not be meeting with him.

44.    The by-laws of SPHPMA provide as follows: “No physician’s employment by the

Corporation may be terminated for cause unless such physician is first given the opportunity to

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appear before the Board at a duly convened meeting to present his/her case against such

termination . . . The physician may bring one attorney to such meeting to represent him/her . . .”

A termination arising from sex discrimination is a termination of cause such that plaintiff should

have been entitled to notice of the allegations and to present his defense.             By instead

characterizing this as a termination “for convenience,” defendants manipulated the process to

deprive plaintiff of any right to be heard. If in fact sex discrimination was not the reason for the

termination, and the termination was in fact “for convenience,” the sex discrimination allegation

was used as a pretext to terminate plaintiff for some other reason, no reason, or a malicious

reason. The use of an allegation of sex discrimination as a weapon in the workplace to target an

employee for some other reason is unlawful as indicated infra.

45.     Furthermore, the SPHP Code of Conduct states that in the course of disciplinary action

the following will occur: “In determining the appropriate level of discipline, the circumstances

of the violation will be considered in light of the severity of the violation. Records of corrective

action and related follow-up conferences are documented immediately following the violation.

These documents are shared with the employee and the employee is given the opportunity to add

comments.” No consideration was given to determining the severity of the violation, whatever it

might have been. Nor were the circumstances considered, as plaintiff was not permitted to

present any countervailing facts. There were no follow-up conferences. Plaintiff was not given

the opportunity to comment and defend himself against any accusations, whatever they may have

been.

46.     This was a disciplinary termination whether characterized as “for cause” or “for

convenience” as it arose from a complaint supposedly of sex discrimination.

47.     Many of the persons who should have been involved in the disciplinary process and/or

decision to terminate plaintiff’s employment told him they were unaware of any misconduct on

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his part.

48.     In investigations of other misconduct by physicians, the accused was provided with the

procedural protections in the by-laws but since this case involved an allegation of sex

discrimination, no procedural protections at all were followed, thus indicating bias against a male

accused of discrimination by a female.

49.     Sex discrimination was falsely used in bad faith as a vehicle for terminating plaintiff’s

employment.

                      COUNT I: DISCRIMINATION UNDER TITLE VII

50.     Plaintiff was highly qualified for the position he held and an excellent performer in his

position.

51.     Plaintiff was discharged from his employment under circumstances that give rise to an

inference of discrimination on the basis of plaintiff's sex.

52.     An alleged complaint of sex discrimination against plaintiff was used a rationale for

plaintiff’s dismissal. However, plaintiff was not interviewed in connection with this complaint.

Plaintiff requested to know but was not informed of the nature of the complaint. The

investigatory procedures and protocols of his employer were not followed, despite his written

objections.

53.     Upon information and belief, sex discrimination was used as a pretext to fire plaintif for

other reasons, a malicious reason, or for no reason. Under recent case law, an allegation of sex

discrimination without appropriate investigation as a weapon to fire a male employee for reasons

unrelated to sex discrimination, for a malicious reason, for no reason, or in bad faith is itself a

termination on the basis of sex in violation of Title VII. Menaker v. Hofstra University, 2019

U.S.App. LEXIS 24283 (2nd Cir. August 15, 2019).




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54.     Defendants showed bias against males by crediting a bare allegation of sex discrimination

without any investigation whatsoever, and, upon information and belief, discovery in this action

will demonstrate explicit bias, as plaintiff was not privy to any of the events leading up to his

termination.

55.     Plaintiff’s sex was a substantial factor in the termination of his employment.

56.     The acts of defendants, through their employees, and on their own behalf, constitute

unlawful discrimination against plaintiff on the basis of his gender in violation of Title VII.

57.     No performance-based reason was ever advanced for the termination of plaintiff’s

employment, so there is no reason why plaintiff should not be reinstated to his position with

SPHPMA.

58.     Defendants shall reimburse plaintiff for all loss of back pay, loss of benefits, loss of savings,

loss of earning capacity (“front pay”), loss of pension benefits, and other monetary losses he has

suffered as a result of defendants’ conduct.

59.     Defendants shall pay plaintiff compensatory damages for the pain, suffering, emotional

harm, loss of enjoyment of life and other harm suffered by plaintiff as a result of defendants’

conduct.

                    COUNT II: PUNITIVE AND LIQUIDATED DAMAGES

60.     Repeats and realleges each of the foregoing allegations as if fully set forth herein.

61.     Defendant’s discriminatory actions were intentional, wanton, willful, reckless, and

malicious, and demonstrated utter and heedless disregard for plaintiff's right to be free from sex

discrimination in the workplace.

62.     Plaintiff is entitled to punitive damages from defendants.

                             COUNT III: BREACH OF CONTRACT

63.     Repeats and realleges each of the foregoing allegations as if fully set forth herein.

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64.    Plaintiff was contractually entitled to the procedural protections provided to all physicians in

the course of their employment as pleaded in ¶¶s 44 and 45 herein. Plaintiff is entitled to these

procedural protections pursuant to his Physician Employment Agreement dated April 30, 2018.

65.    Plaintiff was not provided with any of those protections.

66.    Defendants breached their contract with plaintiff.

67.    Had such breach not occurred, plaintiff would not have been terminated from employment.

68.    Plaintiff is entitled to damages as aforesaid except for emotional and punitive damages.

       WHEREFORE, plaintiff seeks a Judgment against defendants, ordering, adjudging, and

decreeing that:

A.     Defendants violated Title VII and breached their contract with plaintiff.

B.     Defendants shall reinstate the plaintiff to his position with SPHPMA.

C.     Defendants shall reimburse plaintiff for all loss of back pay, loss of benefits, loss of savings,

       loss of earning capacity (“front pay”), loss of pension benefits, and other monetary losses he

       has suffered as a result of defendants’ conduct.

D.     Defendants shall pay plaintiff compensatory damages for the pain, suffering, emotional

       harm, loss of enjoyment of life and other harm suffered by plaintiff as a result of defendants’

       conduct (except as noted in ¶ 68).

E.     Defendants shall pay punitive damages to plaintiff (except as noted in ¶ 68).

F.     Defendants shall pay the costs, disbursements, expenses, and reasonable attorneys’ fees

       incurred by plaintiff in the prosecution of this action.

G.     Plaintiff be awarded such other and further relief as the Court deems appropriate.

Dated: Albany, New York
       April 13, 2021
                                                        COOPER ERVING & SAVAGE LLP
                                                        Attorneys for Plaintiff
                                                        39 North Pearl Street

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                                     By:_________________________
                                           Phillip G. Steck (102664)




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